                 Case 1-15-45585-cec                   Doc 102   Filed 08/02/18     Entered 08/02/18 11:56:49


 Information to identify the case:
 Debtor 1              Marilyn Padilla                                            Social Security number or ITIN   xxx−xx−2691
                       First Name   Middle Name   Last Name                       EIN   _ _−_ _ _ _ _ _ _
 Debtor 2              Fernando Castedo                                           Social Security number or ITIN   xxx−xx−3484
 (Spouse, if filing)
                       First Name   Middle Name   Last Name                       EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Eastern District of New York

 Case number: 1−15−45585−cec




                                                              FINAL DECREE


The estate of the above named debtor(s) has been fully administered.

         • The Deposit required by the plan has been distributed.




IT IS ORDERED THAT:



         • Michael J. Macco (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

         • The Chapter 13 case of the above−named debtor(s) is closed.


                                                                                  s/ Carla E. Craig
                                                                                  United States Bankruptcy Judge

 Dated: August 2, 2018




BLfnld13 [Final Decree 12/13 rev 12/01/15]
